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 9                            UNITED STATES DISTRICT COURT
10                         NORTHERN DISTRICT OF CALIFORNIA
11

12 FAROOQ KHAN, Individually and on Behalf        Case No.
   of All Others Similarly Situated,
13                                                CLASS ACTION COMPLAINT FOR
                  Plaintiff,                      VIOLATIONS OF THE FEDERAL
14                                                SECURITIES LAWS
           v.
15                                                DEMAND FOR JURY TRIAL
   CHARGEPOINT HOLDINGS, INC.,
16 PASQUALE ROMANO, and REX S.
   JACKSON,
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                  Defendants.
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 1          Plaintiff Farooq Khan (“Plaintiff”), individually and on behalf of all others similarly situated,

 2 by and through his attorneys, alleges the following upon information and belief, except as to those

 3 allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s information

 4 and belief is based upon, among other things, his counsel’s investigation, which includes without

 5 limitation: (a) review and analysis of regulatory filings made by ChargePoint Holdings, Inc.

 6 (“ChargePoint” or the “Company”) with the United States (“U.S.”) Securities and Exchange

 7 Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

 8 disseminated by ChargePoint; and (c) review of other publicly available information concerning

 9 ChargePoint.
10                           NATURE OF THE ACTION AND OVERVIEW

11          1.      This is a class action on behalf of persons and entities that purchased or otherwise

12 acquired ChargePoint securities between June 1, 2023 and November 16, 2023, inclusive (the “Class

13 Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange Act of 1934

14 (the “Exchange Act”).

15          2.      ChargePoint provides networked solutions for charging electric vehicles, including

16 the ChargePoint cloud subscription platform and charging hardware. ChargePoint claims its goods

17 and services are designed for an array of charging scenarios from home to workplace, parking,

18 hospitality, retail and transport fleets of all types.

19          3.      On September 6, 2023, after the market closed, ChargePoint reported its second

20 quarter fiscal year 2024 financial results, including an “$28.0 million, or 19 percentage point,

21 inventory impairment charge.” The Company stated the “inventory impairment charge was taken to

22 address legacy supply chain-related costs and supply overruns on a particular DC product.” As a

23 result, the Company reported a second quarter GAAP gross margin of 1%, down from 17% in the

24 prior year’s same quarter.

25          4.      On this news, the Company’s share price fell $0.77, or 11%, to close at $6.29 per

26 share on September 7, 2023, on unusually heavy trading volume.

27          5.      Then, on November 16, 2023, after the market closed, ChargePoint released

28 preliminary financial results for the third quarter of fiscal year 2024, which would include an

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 1 “additional non-cash inventory impairment charge” in the amount of $42 million “related to product

 2 transitions and to better align inventory with current demand.” As a result, the Company expected

 3 to report “GAAP gross margin of negative 23% to negative 21%.” The Company also reported

 4 revenue had fallen to “$108 million to $113 million, as compared to $150 to $165 million as

 5 previously expected.” Moreover, ChargePoint’s Chief Executive Officer and Chief Financial

 6 Officer were both replaced, effective immediately.

 7          6.     On this news, the Company’s share price fell $1.11, or 35%, to close at $2.02 per

 8 share on November 17, 2023, on unusually heavy trading volume.

 9          7.     Throughout the Class Period, Defendants made materially false and/or misleading
10 statements, as well as failed to disclose material adverse facts about the Company’s business,

11 operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) the Company

12 was experiencing higher component costs and supply overruns for first generation DC charging

13 products; (2) that, as a result, the Company was likely to incur impairment charges; (3) that, as a

14 result of the foregoing, the Company’s profitability would be adversely impacted; and (4) that, as a

15 result of the foregoing, Defendants’ positive statements about the Company’s business, operations,

16 and prospects were materially misleading and/or lacked a reasonable basis.

17          8.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline
18 in the market value of the Company’s securities, Plaintiff and other Class members have suffered

19 significant losses and damages.

20                                   JURISDICTION AND VENUE

21          9.     The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange Act

22 (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §

23 240.10b-5).

24          10.    This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

25 § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).

26          11.    Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

28 or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

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 1 including the dissemination of materially false and/or misleading information, occurred in

 2 substantial part in this Judicial District. In addition, the Company’s principal executive offices are

 3 located in this District.

 4          12.     In connection with the acts, transactions, and conduct alleged herein, Defendants

 5 directly and indirectly used the means and instrumentalities of interstate commerce, including the

 6 United States mail, interstate telephone communications, and the facilities of a national securities

 7 exchange.

 8                                                PARTIES

 9          13.     Plaintiff Farooq Khan, as set forth in the accompanying certification, incorporated
10 by reference herein, purchased ChargePoint securities during the Class Period, and suffered

11 damages as a result of the federal securities law violations and false and/or misleading statements

12 and/or material omissions alleged herein.

13          14.     Defendant ChargePoint is incorporated under the laws of Delaware with its principal
14 executive offices located in Campbell, California. ChargePoint’s common stock trades on the New

15 York Stock Exchange (“NYSE”) under the symbol “CHPT.”

16          15.     Defendant Pasquale Romano (“Romano”) was the Company’s President and Chief
17 Executive Officer (“CEO”) at all relevant times.

18          16.     Defendant Rex S. Jackson (“Jackson”) was the Company’s Chief Financial Officer
19 (“CFO”) at all relevant times.

20          17.     Defendants Romano and Jackson (collectively the “Individual Defendants”), because
21 of their positions with the Company, possessed the power and authority to control the contents of

22 the Company’s reports to the SEC, press releases and presentations to securities analysts, money

23 and portfolio managers and institutional investors, i.e., the market. The Individual Defendants were

24 provided with copies of the Company’s reports and press releases alleged herein to be misleading

25 prior to, or shortly after, their issuance and had the ability and opportunity to prevent their issuance

26 or cause them to be corrected. Because of their positions and access to material non-public

27 information available to them, the Individual Defendants knew that the adverse facts specified

28 herein had not been disclosed to, and were being concealed from, the public, and that the positive

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 1 representations which were being made were then materially false and/or misleading.                     The

 2 Individual Defendants are liable for the false statements pleaded herein.

 3                                       SUBSTANTIVE ALLEGATIONS

 4                                                   Background

 5             18.       ChargePoint provides networked solutions for charging electric vehicles, including

 6 the ChargePoint cloud subscription platform and charging hardware. ChargePoint claims its goods

 7 and services are designed for an array of charging scenarios from home to workplace, parking,

 8 hospitality, retail and transport fleets of all types.

 9                                        Materially False and Misleading
10                                   Statements Issued During the Class Period

11             19.       The Class Period begins on June 1, 2023. 1 On that day, ChargePoint issued a press

12 release which announced its financial results for the first quarter of fiscal year 2024, ended April

13 30, 2023. The press release stated, in relevant part:

14             “ChargePoint delivered strong results in the first quarter, growing at nearly 60%
               year-over-year. We focused on delivering our broad portfolio of charging solutions
15             across North America and Europe, while continuing to improve gross margins,
               and managing operating expenses,” said Pasquale Romano, President and CEO of
16             ChargePoint. “The positive first quarter results are a testament to the strength and
               diversity of our business. As the only charging network to operate across all verticals
17             in North America and Europe, we believe we remain well positioned to take
               advantage of the inevitable long-term growth opportunity ahead.”
18
               First Quarter Fiscal 2024 Financial Overview
19
                     •   Revenue. First quarter revenue was $130.0 million, up 59% from $81.6
20                       million in the prior year’s same quarter. Networked charging systems revenue
                         for the first quarter was $98.3 million, up 65% from $59.6 million in the prior
21                       year’s same quarter. Subscription revenue was $26.4 million, up 49% from
                         $17.6 million in the prior year’s same quarter.
22
                     •   Gross Margin. First quarter GAAP gross margin was 23%, up from 15%
23                       in the prior year’s same quarter. First quarter non-GAAP gross margin,
                         which primarily excludes stock-based compensation expense and
24                       amortization from acquired intangible assets, was 25%, up from 17% in the
                         prior year’s same quarter.
25
                     •   Net Income/Loss. First quarter GAAP net loss was $79.4 million, down from
26                       $89.3 million in the prior year’s same quarter. Non-GAAP pre-tax net loss in
                         the first quarter, which primarily excludes $24.0 million in stock-based
27
     1
28       Unless otherwise stated, all emphasis in bold and italics hereinafter is added.

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 1                 compensation expense, $3.0 million amortization expense from acquired
                   intangible assets and other items, was $52.8 million as compared to $71.7
 2                 million in the prior year’s same quarter. Non-GAAP Adjusted EBITDA Loss,
                   which primarily excludes stock-based compensation expense, depreciation
 3                 expense and amortization expense of acquired intangible assets, was $48.9
                   million in the first quarter, as compared to $67.1 million in the prior year’s
 4                 same quarter.

 5

 6                                            *       *       *

 7          Second Quarter of Fiscal 2024 Guidance

 8          For the second fiscal quarter ending July 31, 2023, ChargePoint expects revenue
            of $148 million to $158 million. At the midpoint, this represents an anticipated
 9          increase of 41% over the prior year’s same quarter.
10          20.     On August 8, 2023, the Company filed its quarterly report for the period ended April
11 30, 2023 with the SEC on Form 10-Q (the “1Q24 10-Q”). The 1Q24 10-Q stated, in relevant part:

12          Gross profit increased during the three months ended April 30, 2023 compared to the
            three months ended April 30, 2022 primarily due to an increase in Networked
13          Charging Systems sales that resulted from an increase in the number of Networked
            Charging Systems delivered and an increase in Subscriptions revenue.
14
            Gross margin increased during the three months ended April 30, 2023 compared to
15          the three months ended April 30, 2022 primarily due to efficiencies realized in
            managing cost of Networked Charging Systems.
16
            1Q24 10-Q purported to warn:
17
            Disruptions in the manufacturing, delivery and overall supply chain of vehicle
18          manufacturers and suppliers have resulted in additional costs and, to a lesser extent,
            component shortages, and have led to fluctuations in EV sales in markets around the
19          world. Increased demand for personal electronics and trade restrictions that affect
            raw materials have contributed to a shortfall of semiconductor chips, which has
20          caused additional supply challenges both within and outside of ChargePoint’s
            industry. Ongoing supply chain challenges, component shortages and heightened
21          logistics costs have adversely affected ChargePoint’s gross margins in recent
            quarters and ChargePoint expects that gross margins may continue to be adversely
22          affected by increased material costs and freight and logistic expenses in the future.
23          21.    The above statements identified in ¶¶ 19-21 were materially false and/or misleading,
24 and failed to disclose material adverse facts about the Company’s business, operations, and

25 prospects. Specifically, Defendants failed to disclose to investors: (1) the Company was

26 experiencing higher component costs and supply overruns for first generation DC charging

27 products; (2) that, as a result, the Company was likely to incur impairment charges; (3) that, as a

28 result of the foregoing, the Company’s profitability would be adversely impacted; and (4) that, as a

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 1 result of the foregoing, Defendants’ positive statements about the Company’s business, operations,

 2 and prospects were materially misleading and/or lacked a reasonable basis.

 3          22.       The truth partially emerged on September 6, 2023. On that date, ChargePoint issued

 4 a press release which announced its financial results for the second quarter of fiscal year 2024 ended

 5 July 31, 2023, including a $28.0 million inventory impairment charge. The press release stated, in

 6 relevant part:

 7          “In the second quarter, ChargePoint delivered solid growth. Our revenue of $150
            million represents a 39% year-over-year increase despite a hesitant economy,” said
 8          Pasquale Romano, President and CEO of ChargePoint. “In the quarter we fortified
            our access to working capital with a $150 million revolving credit facility and $38
 9          million raised via our “at-the-market” offering. We took an inventory impairment
            charge to address a significant supply-chain related issue, and we announced an
10          estimated $30 million in annualized operating expense savings from reorganizing
            the business for agility, efficiency and scale. We remain committed to delivering on
11          our goal of generating positive non-GAAP adjusted EBITDA by the end of calendar
            2024.”
12
            Second Quarter Fiscal 2024 Financial Overview
13
                  •   Revenue. Second quarter revenue was $150.5 million, up 39% from $108.3
14                    million in the prior year’s same quarter. Networked charging systems revenue
                      for the second quarter was $114.6 million, up 36% from $84.1 million in the
15                    prior year’s same quarter. Subscription revenue was $30.0 million, up 48%
                      from $20.2 million in the prior year’s same quarter.
16
                  •   Gross Margin. Second quarter GAAP gross margin was 1%, down from
17                    17% in the prior year’s same quarter, and non-GAAP gross margin was
                      3%, down from 19% in the prior year’s same quarter, in both cases
18                    primarily due to a $28.0 million, or 19 percentage point, inventory
                      impairment charge. This inventory impairment charge was taken to
19                    address legacy supply chain-related costs and supply overruns on a
                      particular DC product.
20
                  •   Net Income/Loss. Second quarter GAAP net loss was $125.3 million, up from
21                    $92.7 million in the prior year’s same quarter. Non-GAAP pre-tax net loss
                      was $86.1 million as compared to $62.3 million in the prior year’s same
22                    quarter, both reflecting the $28.0 million inventory impairment charge.
                      Non-GAAP Adjusted EBITDA Loss was $81.2 million also reflects this
23                    inventory impairment charge in the second quarter, as compared to $56.2
                      million in the prior year’s same quarter.
24
                  •   Liquidity. As of July 31, 2023, cash on the balance sheet was $263.9 million,
25                    which includes $37.7 million of at-the-market share offering gross proceeds
                      during the second quarter.
26
                  •   Shares Outstanding. As of July 31, 2023, the Company had approximately
27                    360 million shares of common stock outstanding.
28

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 1           23.       On this news, the Company’s share price fell $0.77, or 11%, to close at $6.29 per

 2 share on September 7, 2023, on unusually heavy trading volume.

 3           24.       The September 6, 2023 press release further stated:

 4           Third Quarter, Fourth Quarter and Full Fiscal Year 2024 Guidance

 5           For the third fiscal quarter ending October 31, 2023, ChargePoint expects:

 6                 •   Revenue of $150 million to $165 million. At the midpoint, this represents
                       an anticipated increase of 26% as compared to the prior year.
 7
                   •   Non-GAAP gross margin of 22 to 25%.
 8
                   •   Non-GAAP operating expenses of $81 million to $84 million.
 9
             For the fourth fiscal quarter ending January 31, 2024, ChargePoint expects non-
10           GAAP operating expenses of $79 million to $82 million.
11           For the full fiscal year ending January 31, 2024, ChargePoint expects revenue of
             $605 million to $630 million. At the midpoint, this represents an anticipated increase
12           of 32% as compared to the prior year.
13           25.       On September 6, 2023, the Company hosted a conference call in connection with the
14 second quarter of fiscal year 2024 earnings. During the call, Defendant Jackson stated, in relevant

15 part:

16           Turning to guidance. For the third quarter of fiscal 2023, we expect revenue to be
             $150 million to $165 million, up 26% year-on-year and up 5% sequentially at the
17           midpoint. For the full fiscal year, we are guiding to $605 million to $630 million, up
             32% year-on-year at the midpoint.
18
             Regarding gross margin, for the third quarter, we expect to be between 22% and
19           25% on a non-GAAP basis as we work through the inventory levels discussed
             earlier. With the inventory issue behind us and aggressive programs for improving
20           our cost structure on supply and manufacturing, we would expect to resume
             continued improvement in gross margin next year.
21
             26.       On September 11, 2023, the Company filed its quarterly report for the period ended
22
     July 31, 2023, with the SEC on Form 10-Q (the “2Q24 10-Q”). The 2Q24 10-Q stated, in relevant
23
     part:
24
             For the remainder of fiscal year 2024, ChargePoint expects revenue to grow in
25           both Networked Charging Systems and subscriptions due to increased demand in
             EVs and the related charging infrastructure market.
26
             27.       The 2Q24 10-Q discussed inventory levels and stated in relevant part:
27
             Inventory levels are analyzed periodically and written down to their net realizable
28           value if they have become obsolete, have a cost basis in excess of expected net

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 1          realizable value or are in excess of expected demand. During the three months
            ended July 31, 2023, the Company recorded an impairment charge of
 2          $28.0 million, consisting of $15.0 million charge to write down the carrying value
            of certain inventory on hand, as well as $13.0 million charge for losses on non-
 3          cancelable purchase commitments for inventory to be received after July 31, 2023,
            to reduce the carrying value of certain DC fast charging products to their estimated
 4          net realizable value. The inventory impairment charge is included in the cost of
            revenue - networked charging systems in the condensed consolidated statements of
 5          operations.

 6          28.     The 2Q24 10-Q purported to warn investors of risks related to inventory, and stated

 7 in relevant part:

 8          ChargePoint’s revenue growth is directly tied to the number of passenger and
            commercial EVs sold, which it believes drives the demand for EV charging
 9          infrastructure. The market for EVs is still rapidly evolving and although demand for
            EVs has grown in recent years, there is no guarantee of such future demand.
10
                                      *               *              *
11
            ChargePoint depends on the timely supply of materials, services and related
12          products to meet the demands of its customers, which depends in part on the timely
            delivery of materials and services from suppliers and contract manufacturers.
13          Significant or sudden increases in demand for EV charging stations, as well as
            worldwide demand for the raw materials and services that ChargePoint requires to
14          manufacture and sell EV charging stations, including component parts, may result in
            a shortage of such materials or may cause shipment delays due to transportation
15          interruptions or capacity constraints. Such shortages or delays could adversely
            impact ChargePoint’s suppliers’ ability to meet ChargePoint’s demand requirements.
16
            29.     The above statements identified in ¶¶ 22-28 were materially false and/or misleading,
17
     and failed to disclose material adverse facts about the Company’s business, operations, and
18
     prospects. Specifically, Defendants failed to disclose to investors: (1) higher component costs and
19
     supply overruns for first generation DC charging products; (2) that, as a result, the Company was
20
     likely to incur additional impairment charges; (3) that, as a result of the foregoing, the Company’s
21
     profitability would be adversely impacted; and (4) that, as a result of the foregoing, Defendants’
22
     positive statements about the Company’s business, operations, and prospects were materially
23
     misleading and/or lacked a reasonable basis.
24
                                Disclosures at the End of the Class Period
25
            30.     On November 16, 2023, after the market closed, ChargePoint released preliminary
26
     financial results for the third quarter of fiscal year 2024, revealing another $42 million inventory
27
     impairment charge. Specifically, the Company announced:
28

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 1          Our core markets of North America and Europe both came under pressure late in the
            third quarter, with revenue falling far short of expectations. Overall macroeconomic
 2          conditions, along with fleet and commercial vehicle delivery delays impacted
            anticipated deployments with government, auto dealership and workplace
 3          customers.” said Rick Wilmer, President and CEO of ChargePoint.

 4                                      *              *              *

 5          Over the past 18 months in his prior role as Chief Operating Officer, Wilmer has
            completed a thorough analysis of ChargePoint’s supply chain, manufacturing
 6          partnerships and inventory management approach. “The ChargePoint board and I are
            committed to significantly improving operational execution to ensure that the
 7          Company is building a stronger, more resilient business for the benefit of all
            stakeholders. Our first steps are to take an additional non-cash inventory
 8          impairment charge related to product transitions and to better align inventory with
            current demand. We remain committed to our goal of generating positive adjusted
 9          EBITDA in the fourth quarter of calendar 2024,” said Wilmer.
10          Preliminary Third Quarter Fiscal Year 2024 Financial Performance
11                •   Revenue of $108 to $113 million, as compared to $150 to $165 million as
                      previously expected.
12
                  •   ChargePoint expects to take a non-cash impairment charge of $42 million
13                    resulting in GAAP gross margin of negative 23% to negative 21% and non-
                      GAAP gross margin of negative 19% to negative 17%.
14
                  •   Pre-impairment non-GAAP gross margin of 19% to 21%, as compared to
15                    22% to 25% as previously expected.
16                •   ChargePoint expects GAAP operating expenses of $129 million to $131
                      million. Non-GAAP operating expenses of $80 million to $82 million, as
17                    compared to $81 million to $84 million as previously expected.

18                •   As of October 31, 2023, cash, cash equivalents and restricted cash was
                      approximately $397 million, which includes $232 million of at-the-market
19                    share offering gross proceeds, as previously announced on October 11, 2023.

20                •   As of October 31, 2023, ChargePoint’s $150 million revolving credit facility
                      remains undrawn, and the Company has no drawn debt maturities until 2028.
21
            31.       On that date, the Company also announced that it would be replacing both its
22
     President/Chief Executive Officer, Defendant Romano, and Chief Financial Officer, Defendant
23
     Jackson, effective immediately.
24
            32.       On this news, the Company’s share price fell $1.11, or 35%, to close at $2.02 per
25
     share on November 17, 2023, on unusually heavy trading volume.
26

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 1                                   CLASS ACTION ALLEGATIONS

 2          33.      Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 3 Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

 4 or otherwise acquired ChargePoint securities between June 1, 2023 and November 16, 2023,

 5 inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,

 6 the officers and directors of the Company, at all relevant times, members of their immediate families

 7 and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

 8 have or had a controlling interest.

 9          34.      The members of the Class are so numerous that joinder of all members is
10 impracticable. Throughout the Class Period, ChargePoint’s shares actively traded on the NYSE.

11 While the exact number of Class members is unknown to Plaintiff at this time and can only be

12 ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds or

13 thousands of members in the proposed Class. Millions of ChargePoint shares were traded publicly

14 during the Class Period on the NYSE. Record owners and other members of the Class may be

15 identified from records maintained by ChargePoint or its transfer agent and may be notified of the

16 pendency of this action by mail, using the form of notice similar to that customarily used in securities

17 class actions.

18          35.      Plaintiff’s claims are typical of the claims of the members of the Class as all members
19 of the Class are similarly affected by Defendants’ wrongful conduct in violation of federal law that

20 is complained of herein.

21          36.      Plaintiff will fairly and adequately protect the interests of the members of the Class
22 and has retained counsel competent and experienced in class and securities litigation.

23          37.      Common questions of law and fact exist as to all members of the Class and
24 predominate over any questions solely affecting individual members of the Class. Among the

25 questions of law and fact common to the Class are:

26                   (a)    whether the federal securities laws were violated by Defendants’ acts as
27 alleged herein;

28

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 1                  (b)    whether statements made by Defendants to the investing public during the

 2 Class Period omitted and/or misrepresented material facts about the business, operations, and

 3 prospects of ChargePoint; and

 4                  (c)    to what extent the members of the Class have sustained damages and the

 5 proper measure of damages.

 6          38.     A class action is superior to all other available methods for the fair and efficient

 7 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 8 damages suffered by individual Class members may be relatively small, the expense and burden of

 9 individual litigation makes it impossible for members of the Class to individually redress the wrongs
10 done to them. There will be no difficulty in the management of this action as a class action.

11                                 UNDISCLOSED ADVERSE FACTS

12          39.     The market for ChargePoint’s securities was open, well-developed and efficient at

13 all relevant times. As a result of these materially false and/or misleading statements, and/or failures

14 to disclose, ChargePoint’s securities traded at artificially inflated prices during the Class Period.

15 Plaintiff and other members of the Class purchased or otherwise acquired ChargePoint’s securities

16 relying upon the integrity of the market price of the Company’s securities and market information

17 relating to ChargePoint, and have been damaged thereby.

18          40.     During the Class Period, Defendants materially misled the investing public, thereby

19 inflating the price of ChargePoint’s securities, by publicly issuing false and/or misleading

20 statements and/or omitting to disclose material facts necessary to make Defendants’ statements, as

21 set forth herein, not false and/or misleading. The statements and omissions were materially false

22 and/or misleading because they failed to disclose material adverse information and/or

23 misrepresented the truth about ChargePoint’s business, operations, and prospects as alleged herein.

24          41.     At all relevant times, the material misrepresentations and omissions particularized in

25 this Complaint directly or proximately caused or were a substantial contributing cause of the

26 damages sustained by Plaintiff and other members of the Class. As described herein, during the

27 Class Period, Defendants made or caused to be made a series of materially false and/or misleading

28 statements about ChargePoint’s financial well-being and prospects. These material misstatements

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 1 and/or omissions had the cause and effect of creating in the market an unrealistically positive

 2 assessment of the Company and its financial well-being and prospects, thus causing the Company’s

 3 securities to be overvalued and artificially inflated at all relevant times. Defendants’ materially false

 4 and/or misleading statements during the Class Period resulted in Plaintiff and other members of the

 5 Class purchasing the Company’s securities at artificially inflated prices, thus causing the damages

 6 complained of herein when the truth was revealed.

 7                                          LOSS CAUSATION

 8          42.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

 9 the economic loss suffered by Plaintiff and the Class.
10          43.     During the Class Period, Plaintiff and the Class purchased ChargePoint’s securities
11 at artificially inflated prices and were damaged thereby. The price of the Company’s securities

12 significantly declined when the misrepresentations made to the market, and/or the information

13 alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

14 causing investors’ losses.

15                                     SCIENTER ALLEGATIONS

16          44.     As alleged herein, Defendants acted with scienter since Defendants knew that the

17 public documents and statements issued or disseminated in the name of the Company were

18 materially false and/or misleading; knew that such statements or documents would be issued or

19 disseminated to the investing public; and knowingly and substantially participated or acquiesced in

20 the issuance or dissemination of such statements or documents as primary violations of the federal

21 securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue of their

22 receipt of information reflecting the true facts regarding ChargePoint, their control over, and/or

23 receipt and/or modification of ChargePoint’s allegedly materially misleading misstatements and/or

24 their associations with the Company which made them privy to confidential proprietary information

25 concerning ChargePoint, participated in the fraudulent scheme alleged herein.

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 1                       APPLICABILITY OF PRESUMPTION OF RELIANCE

 2                             (FRAUD-ON-THE-MARKET DOCTRINE)

 3          45.    The market for ChargePoint’s securities was open, well-developed and efficient at

 4 all relevant times. As a result of the materially false and/or misleading statements and/or failures to

 5 disclose, ChargePoint’s securities traded at artificially inflated prices during the Class Period. On

 6 June 7, 2023, the Company’s share price closed at a Class Period high of $9.78 per share. Plaintiff

 7 and other members of the Class purchased or otherwise acquired the Company’s securities relying

 8 upon the integrity of the market price of ChargePoint’s securities and market information relating

 9 to ChargePoint, and have been damaged thereby.
10          46.    During the Class Period, the artificial inflation of ChargePoint’s shares was caused
11 by the material misrepresentations and/or omissions particularized in this Complaint causing the

12 damages sustained by Plaintiff and other members of the Class. As described herein, during the

13 Class Period, Defendants made or caused to be made a series of materially false and/or misleading

14 statements about ChargePoint’s business, prospects, and operations. These material misstatements

15 and/or omissions created an unrealistically positive assessment of ChargePoint and its business,

16 operations, and prospects, thus causing the price of the Company’s securities to be artificially

17 inflated at all relevant times, and when disclosed, negatively affected the value of the Company

18 shares. Defendants’ materially false and/or misleading statements during the Class Period resulted

19 in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

20 inflated prices, and each of them has been damaged as a result.

21          47.    At all relevant times, the market for ChargePoint’s securities was an efficient market
22 for the following reasons, among others:

23                 (a)     ChargePoint shares met the requirements for listing, and was listed and
24 actively traded on the NYSE, a highly efficient and automated market;

25                 (b)     As a regulated issuer, ChargePoint filed periodic public reports with the SEC
26 and/or the NYSE;

27                 (c)     ChargePoint regularly communicated with public investors via established
28 market communication mechanisms, including through regular dissemination of press releases on

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 1 the national circuits of major newswire services and through other wide-ranging public disclosures,

 2 such as communications with the financial press and other similar reporting services; and/or

 3                  (d)     ChargePoint was followed by securities analysts employed by brokerage

 4 firms who wrote reports about the Company, and these reports were distributed to the sales force

 5 and certain customers of their respective brokerage firms. Each of these reports was publicly

 6 available and entered the public marketplace.

 7          48.     As a result of the foregoing, the market for ChargePoint’s securities promptly

 8 digested current information regarding ChargePoint from all publicly available sources and reflected

 9 such information in ChargePoint’s share price. Under these circumstances, all purchasers of
10 ChargePoint’s securities during the Class Period suffered similar injury through their purchase of

11 ChargePoint’s securities at artificially inflated prices and a presumption of reliance applies.

12          49.     A Class-wide presumption of reliance is also appropriate in this action under the
13 Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

14 because the Class’s claims are, in large part, grounded on Defendants’ material misstatements and/or

15 omissions.      Because this action involves Defendants’ failure to disclose material adverse
16 information regarding the Company’s business operations and financial prospects—information that

17 Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to recovery.

18 All that is necessary is that the facts withheld be material in the sense that a reasonable investor

19 might have considered them important in making investment decisions. Given the importance of

20 the Class Period material misstatements and omissions set forth above, that requirement is satisfied

21 here.

22                                          NO SAFE HARBOR

23          50.     The statutory safe harbor provided for forward-looking statements under certain

24 circumstances does not apply to any of the allegedly false statements pleaded in this Complaint. The

25 statements alleged to be false and misleading herein all relate to then-existing facts and conditions.

26 In addition, to the extent certain of the statements alleged to be false may be characterized as forward

27 looking, they were not identified as “forward-looking statements” when made and there were no

28 meaningful cautionary statements identifying important factors that could cause actual results to

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 1 differ materially from those in the purportedly forward-looking statements. In the alternative, to the

 2 extent that the statutory safe harbor is determined to apply to any forward-looking statements

 3 pleaded herein, Defendants are liable for those false forward-looking statements because at the time

 4 each of those forward-looking statements was made, the speaker had actual knowledge that the

 5 forward-looking statement was materially false or misleading, and/or the forward-looking statement

 6 was authorized or approved by an executive officer of ChargePoint who knew that the statement

 7 was false when made.

 8                                            FIRST CLAIM

 9                         Violation of Section 10(b) of The Exchange Act and
10                                Rule 10b-5 Promulgated Thereunder
11                                        Against All Defendants

12          51.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

13 set forth herein.

14          52.    During the Class Period, Defendants carried out a plan, scheme and course of conduct

15 which was intended to and, throughout the Class Period, did: (i) deceive the investing public,

16 including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and other

17 members of the Class to purchase ChargePoint’s securities at artificially inflated prices.         In

18 furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

19 took the actions set forth herein.

20          53.    Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made untrue

21 statements of material fact and/or omitted to state material facts necessary to make the statements

22 not misleading; and (iii) engaged in acts, practices, and a course of business which operated as a

23 fraud and deceit upon the purchasers of the Company’s securities in an effort to maintain artificially

24 high market prices for ChargePoint’s securities in violation of Section 10(b) of the Exchange Act

25 and Rule 10b-5. All Defendants are sued either as primary participants in the wrongful and illegal

26 conduct charged herein or as controlling persons as alleged below.

27          54.    Defendants, individually and in concert, directly and indirectly, by the use, means or

28 instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

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 1 continuous course of conduct to conceal adverse material information about ChargePoint’s financial

 2 well-being and prospects, as specified herein.

 3          55.     Defendants employed devices, schemes and artifices to defraud, while in possession

 4 of material adverse non-public information and engaged in acts, practices, and a course of conduct

 5 as alleged herein in an effort to assure investors of ChargePoint’s value and performance and

 6 continued substantial growth, which included the making of, or the participation in the making of,

 7 untrue statements of material facts and/or omitting to state material facts necessary in order to make

 8 the statements made about ChargePoint and its business operations and future prospects in light of

 9 the circumstances under which they were made, not misleading, as set forth more particularly herein,
10 and engaged in transactions, practices and a course of business which operated as a fraud and deceit

11 upon the purchasers of the Company’s securities during the Class Period.

12          56.     Each of the Individual Defendants’ primary liability and controlling person liability
13 arises from the following facts: (i) the Individual Defendants were high-level executives and/or

14 directors at the Company during the Class Period and members of the Company’s management team

15 or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and activities

16 as a senior officer and/or director of the Company, was privy to and participated in the creation,

17 development and reporting of the Company’s internal budgets, plans, projections and/or reports;

18 (iii) each of these defendants enjoyed significant personal contact and familiarity with the other

19 defendants and was advised of, and had access to, other members of the Company’s management

20 team, internal reports and other data and information about the Company’s finances, operations, and

21 sales at all relevant times; and (iv) each of these defendants was aware of the Company’s

22 dissemination of information to the investing public which they knew and/or recklessly disregarded

23 was materially false and misleading.

24          57.     Defendants had actual knowledge of the misrepresentations and/or omissions of
25 material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

26 ascertain and to disclose such facts, even though such facts were available to them. Such defendants’

27 material misrepresentations and/or omissions were done knowingly or recklessly and for the purpose

28 and effect of concealing ChargePoint’s financial well-being and prospects from the investing public

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 1 and supporting the artificially inflated price of its securities. As demonstrated by Defendants’

 2 overstatements and/or misstatements of the Company’s business, operations, financial well-being,

 3 and prospects throughout the Class Period, Defendants, if they did not have actual knowledge of the

 4 misrepresentations and/or omissions alleged, were reckless in failing to obtain such knowledge by

 5 deliberately refraining from taking those steps necessary to discover whether those statements were

 6 false or misleading.

 7          58.     As a result of the dissemination of the materially false and/or misleading information

 8 and/or failure to disclose material facts, as set forth above, the market price of ChargePoint’s

 9 securities was artificially inflated during the Class Period. In ignorance of the fact that market prices
10 of the Company’s securities were artificially inflated, and relying directly or indirectly on the false

11 and misleading statements made by Defendants, or upon the integrity of the market in which the

12 securities trades, and/or in the absence of material adverse information that was known to or

13 recklessly disregarded by Defendants, but not disclosed in public statements by Defendants during

14 the Class Period, Plaintiff and the other members of the Class acquired ChargePoint’s securities

15 during the Class Period at artificially high prices and were damaged thereby.

16          59.     At the time of said misrepresentations and/or omissions, Plaintiff and other members
17 of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff and the other

18 members of the Class and the marketplace known the truth regarding the problems that ChargePoint

19 was experiencing, which were not disclosed by Defendants, Plaintiff and other members of the Class

20 would not have purchased or otherwise acquired their ChargePoint securities, or, if they had

21 acquired such securities during the Class Period, they would not have done so at the artificially

22 inflated prices which they paid.

23          60.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act
24 and Rule 10b-5 promulgated thereunder.

25          61.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the
26 other members of the Class suffered damages in connection with their respective purchases and

27 sales of the Company’s securities during the Class Period.

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 1                                          SECOND CLAIM

 2                           Violation of Section 20(a) of The Exchange Act

 3                                  Against the Individual Defendants

 4          62.    Plaintiff repeats and re-alleges each and every allegation contained above as if fully

 5 set forth herein.

 6          63.    Individual Defendants acted as controlling persons of ChargePoint within the

 7 meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

 8 positions and their ownership and contractual rights, participation in, and/or awareness of the

 9 Company’s operations and intimate knowledge of the false financial statements filed by the
10 Company with the SEC and disseminated to the investing public, Individual Defendants had the

11 power to influence and control and did influence and control, directly or indirectly, the decision-

12 making of the Company, including the content and dissemination of the various statements which

13 Plaintiff contends are false and misleading. Individual Defendants were provided with or had

14 unlimited access to copies of the Company’s reports, press releases, public filings, and other

15 statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were

16 issued and had the ability to prevent the issuance of the statements or cause the statements to be

17 corrected.

18          64.    In particular, Individual Defendants had direct and supervisory involvement in the
19 day-to-day operations of the Company and, therefore, had the power to control or influence the

20 particular transactions giving rise to the securities violations as alleged herein, and exercised the

21 same.

22          65.    As set forth above, ChargePoint and Individual Defendants each violated Section
23 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

24 position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

25 Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and other

26 members of the Class suffered damages in connection with their purchases of the Company’s

27 securities during the Class Period.

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 1                                      PRAYER FOR RELIEF

 2         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

 3         (a)     Determining that this action is a proper class action under Rule 23 of the Federal

 4 Rules of Civil Procedure;

 5         (b)     Awarding compensatory damages in favor of Plaintiff and the other Class members

 6 against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

 7 wrongdoing, in an amount to be proven at trial, including interest thereon;

 8         (c)     Awarding Plaintiff and the Class their reasonable costs and expenses incurred in this

 9 action, including counsel fees and expert fees; and
10         (d)     Such other and further relief as the Court may deem just and proper.
11                                    JURY TRIAL DEMANDED

12         Plaintiff hereby demands a trial by jury.

13

14 DATED: November 29, 2023                   GLANCY PRONGAY & MURRAY LLP
                                              By: s/ Charles H. Linehan
15
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24                                            Attorneys for Plaintiff Farooq Khan

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                   SWORN CERTIFICATION OF PLAINTIFF


       CHARGEPOINT HOLDINGS, INC. SECURITIES LITIGATION


  I, Farooq Khan, certify that:

  1. I have reviewed the Complaint, adopt its allegations, and authorize the filing of a
     Lead Plaintiff motion on my behalf.

  2. I did not purchase the ChargePoint Holdings, Inc. securities that are the subject of this
     action at the direction of plaintiff’s counsel or in order to participate in any private
     action arising under this title.

  3. I am willing to serve as a representative party on behalf of a class and will testify at
     deposition and trial, if necessary.

  4. My transactions in ChargePoint Holdings, Inc. securities during the Class Period set
     forth in the Complaint are as follows:

         (See attached transactions)

  5. I have not sought to serve, nor served, as a representative party on behalf of a class
     under this title during the last three years, except for the following:

  6. I will not accept any payment for serving as a representative party, except to receive
     my pro rata share of any recovery or as ordered or approved by the court, including
     the award to a representative plaintiff of reasonable costs and expenses (including lost
     wages) directly relating to the representation of the class.


  I declare under penalty of perjury that the foregoing are true and correct statements.



  11/24/2023
________________                         _________________________________________
      Date                                            Farooq Khan
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  Farooq Khan's Transactions in ChargePoint Holdings, Inc. (CHPT)
    Date     Transaction Type       Quantity         Unit Price
    6/9/2023      Bought                  1,500              $8.3200
    6/9/2023      Bought                    500              $8.3299
   6/23/2023      Bought                  2,000              $7.2700
   6/27/2023       Sold                  -2,000              $7.6600
   7/14/2023      Bought                  1,600              $8.2650
   7/14/2023      Bought                    400              $8.2699
   7/17/2023       Sold                  -2,000              $8.6900
   7/19/2023      Bought                  2,000              $8.6600
   7/20/2023      Bought                  1,000              $8.2700
   7/20/2023      Bought                    600              $8.2950
   7/20/2023      Bought                    400              $8.3000
   7/25/2023      Bought                  2,000              $8.1900
   7/28/2023       Sold                    -700              $8.2550
   7/28/2023       Sold                  -9,300              $8.2500
    8/1/2023      Bought                  1,000              $8.4000
    8/2/2023      Bought                  3,000              $8.0300
   8/10/2023      Bought                  3,000              $7.9100
   8/15/2023      Bought                  2,000              $7.5800
   8/16/2023      Bought                  2,000              $7.4100
    9/7/2023      Bought                  3,000              $5.7700
  10/11/2023      Bought                  4,000              $3.7800
  10/20/2023      Bought                  1,000              $3.0400
  10/20/2023      Bought                  4,000              $3.0498

  Perfapps Inc.'s Transactions in ChargePoint Holdings, Inc. (CHPT)
    Date      Transaction Type        Quantity         Unit Price
   8/10/2023        Bought                  5,000              $7.9200
  10/20/2023        Bought                  5,000              $2.9899
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                                ASSIGNMENT AGREEMENT

                                                            11/24/2023
This Assignment Agreement is made and entered into on _____________ (the “Effective Date”),
by and between Perfapps Inc. (“Assignor”) and Farooq Khan (“Assignee”) (collectively, the
“Parties”).

The Parties hereby agree as follows:

1. Assignment. Assignor hereby assigns, conveys, transfers, and sets over unto Assignee all rights,
title, ownership, and interest in claims, demands, and causes of action of any kind whatsoever that
the Assignor has or may have arising from violations of the federal securities laws of the United
States of America in connection with Assignor’s purchase or acquisition of ChargePoint Holdings,
Inc. securities. Furthermore, the Assignor hereby appoints the Assignee as his attorney-in-fact for
the purpose of exercising all powers relating to such causes of action. Assignee agrees to remit any
proceeds received as a result of this assignment to the Assignor.

2. Acceptance. As of the Effective Date, Assignee hereby accepts the foregoing assignment.

3. Successors. This assignment shall be binding upon and inure to the benefit of the Parties, their
successors, and assigns.



ASSIGNOR:

                                       11/24/2023

Perfapps Inc.                          Date
By: Farooq Khan, Owner




ASSIGNEE:

                                       11/24/2023

Farooq Khan                            Date
